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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

SYLVESTER DAVIS, JR., # 211672,                )
                                               )
              Petitioner,                      )
                                               )
       v.                                      )    Civil Action No. 3:17cv675-WKW
                                               )
DEWAYNE ESTES, et al.,                         )
                                               )
              Respondents.                     )

                                         ORDER

       Respondents have filed an answer to Petitioner’s § 2254 petition in accordance with

the provisions of Rule 5, Rules Governing Section 2254 Cases in the United States District

Courts. In their answer (Doc. No. 11), Respondents contend that Petitioner has procedurally

defaulted eight of the eleven claims in his § 2254 petition. Respondents contend that

Petitioner’s remaining three claims were correctly adjudicated on the merits in state court.

       Specifically, Respondents argue that Grounds One through Four in the § 2254 petition

challenging the sufficiency of the evidence underlying Petitioner’s murder conviction were

raised on direct appeal, where the Alabama Court of Criminal Appeals found that Grounds

One, Three, and Four were meritless and that Ground Two (alleging that the State did not

corroborate accomplice testimony) was not properly preserved and, alternatively, that it was

also without merit. Respondents maintain that Petitioner did not petition the Alabama

Supreme Court for certiorari review of these findings, and, therefore, these claims remain
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unexhausted while no avenue exists by which Petitioner can return to state court to exhaust

them.

        Respondents further argue that Grounds Nine and Eleven in the § 2254 petition also

remain unexhausted, because they were not raised on appeal from the denial of Petitioner’s

Rule 32 petition, and no avenue exists by which Petitioner can return to state court to exhaust

them.

        Respondents argue that Grounds Five and Ten in the § 2254 petition remain

unexhausted, because Petitioner did not pursue these claims in his petition for certiorari

review by the Alabama Supreme Court, and Petitioner cannot return to state court to exhaust

these claims.

        Respondents argue that Grounds Six, Seven, and Eight in the § 2254 petition were

exhausted in the state courts and were correctly adjudicated on their merits in state court,

specifically, the relevant state court decisions were neither contrary to clearly established

federal law nor unreasonable applications of clearly established federal law.

        Before a § 2254 petitioner may obtain federal habeas corpus review, he must exhaust

his federal claims by raising them in the appropriate court, giving the state courts “one full

opportunity to resolve any constitutional issues by invoking one complete round of the

State’s established appellate review process,” including review by the state’s court of last

resort, even if review in that court is discretionary. O’Sullivan v. Boerckel, 526 U.S. 838,

845 (1999). Doing so gives the state courts the first opportunity to apply controlling law to

their own case and petitioner’s claim. See Duncan v. Walker, 533 U.S. 167, 178–79 (2001).

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       In Alabama, a full opportunity for direct review of a criminal conviction includes an

appeal to the Alabama Court of Criminal Appeals, an application for rehearing to that court,

and a petition for a writ of certiorari to the Alabama Supreme Court. See Smith v. Jones, 256

F.3d 1135, 1140–41 (11th Cir. 2001) (“Alabama’s discretionary direct review procedures

bring Alabama prisoner habeas petitions within the scope of the Boerckel rule.”); Ala. R.

App. P. 39 & 40 (setting rules for appeals). The exhaustion requirement applies to state post-

conviction proceedings and to direct appeals. See Pruitt v. Jones, 348 F.3d 1355, 1359 (11th

Cir. 2003).

       Federal claims never presented to a state court or claims not exhausted properly in the

state courts are procedurally defaulted if presentation of the claims in state court would be

barred by state procedural rules. Gray v. Netherland, 518 U.S. 152, 161–62 (1996) (where

state court remedies are no longer available because petitioner failed to file a direct appeal

or initiate timely state post-conviction action, petitioner has procedurally defaulted on his

claims and is generally barred from asserting claims in a federal habeas proceeding);

Coleman v. Thompson, 501 U.S. 722, 735 n.1 (1991) (“[I]f the petitioner failed to exhaust

state remedies and the court to which the petitioner would be required to present his claims

in order to meet the exhaustion requirement would now find the claims procedurally barred[,]

. . . there is a procedural default for purposes of federal habeas.”) (citations omitted);

Henderson v. Campbell, 353 F.3d 880, 891 (11th Cir. 2003) (when petitioner fails to

properly exhaust claims in state court and is barred from raising claims in state court by state

procedural rules, such claims are procedurally defaulted).

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       Federal habeas review may also be unavailable for claims that a state court has

rejected on state procedural grounds. Coleman, 501 U.S. at 729. When a state prisoner fails

to follow state procedural rules, thereby procedurally defaulting on a claim, the authority of

federal courts to review the prisoner’s state court criminal conviction is “severely restricted.”

Johnson v. Singletary, 938 F.2d 1166, 1173 (11th Cir. 1991). “Federal review of a

petitioner’s claim is barred by the procedural-default doctrine if the last state court to review

the claim states clearly and expressly that its judgment rests on a procedural bar, and that bar

provides an adequate and independent state ground for denying relief.” Atkins v. Singletary,

965 F.2d 952, 955 (11th Cir. 1992); see Marek v. Singletary, 62 F.3d 1295, 1301–02 (11th

Cir. 1995).

       By its very definition, the adequate and independent state-ground doctrine
       requires the federal court to honor a state holding that is a sufficient basis for
       the state court’s judgment, even when the state court also relies on federal law.
       See Fox Film Corp. v. Muller, 296 U.S. 207, 210 (1935). Thus, by applying
       this doctrine to habeas cases, [Wainwright v. Sykes, 433 U.S. 72 (1977)]
       curtails reconsideration of the federal issue on federal habeas as long as the
       state court explicitly invokes a state procedural bar rule as a separate basis for
       decision. In this way, a state court may reach a federal question without
       sacrificing its interests in finality, federalism, and comity.

Harris v. Reed, 489 U.S. 255, 264 n.10 (1989).

       Petitioner is advised that a procedural default bars consideration of the merits of a

claim “unless the prisoner can demonstrate cause for the default and actual prejudice as a

result of the alleged violation of federal law, or demonstrate that failure to consider the

claims will result in a fundamental miscarriage of justice.” Coleman, 501 U.S. at 750;

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Peoples v. Campbell, 377 F.3d 1208, 1235 (11th Cir. 2004); Henderson, 353 F.3d at 892.

However, even if a petitioner fails to show cause and prejudice, a procedural default will not

preclude a federal court from considering the petitioner’s federal constitutional claim where

the petitioner is able to show that the court’s failure to address his claim would result in a

“fundamental miscarriage of justice.” Schlup v. Delo, 513 U.S. 298, 320 (1995); Murray v.

Carrier, 477 U.S. 478 (1986). The miscarriage of justice exception allows federal courts to

address procedurally defaulted claims if the petitioner shows that “a constitutional violation

has probably resulted in the conviction of one who is actually innocent.” Murray, 477 U.S.

at 496.

          Title 28 U.S.C. § 2254(d)(1) places constraints on the power of a federal court to

grant a state prisoner’s application for habeas corpus relief regarding claims adjudicated on

the merits in state court. The statute allows this court to grant a writ of habeas corpus only

“if the relevant state-court decision was either (1) ‘contrary to ... clearly established Federal

law, as determined by the Supreme Court of the United States,’ or (2) ‘involved an

unreasonable application of ... clearly established Federal law, as determined by the

Supreme Court of the United States.’ (Emphases added.)” Williams v. Taylor, 529 U.S. at

404-05. “Under § 2254(d)(1) and the Williams decision, [a federal court] can grant relief

only if the state court decision denying relief is ‘contrary to’ clearly established federal law

or is an ‘unreasonable application’ of federal law.” Brown v. Head, 272 F.3d 1308, 1313

(11th Cir. 2001). In the vast majority of cases, a federal district court will face a contention

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that the state court unreasonably applied federal law.

       In determining whether the state court’s decision is an unreasonable
       application of the law set out in [applicable] Supreme Court decisions, we
       need not decide whether we would have reached the same result as the state
       court if we had been deciding the issue in the first instance. Instead, we
       decide only whether the state court’s decision of the issue is objectively
       unreasonably. See Williams v. Taylor, 529 U.S. 362, 411, 120 S.Ct. 1495,
       1522, 146 L.Ed.2d 389 (2000) (“Under §2254(d)(1)’s ‘unreasonable
       application’ clause, then, a federal habeas court may not issue the writ simply
       because that court concludes in its independent judgment that the relevant
       state-court decision applied clearly established federal law erroneously or
       incorrectly. Rather, that application must also be unreasonable.”); Brown v.
       Head, 272 F.3d 1308, [1313] (11th Cir. 2001) (“It is the objective
       reasonableness, not the correctness per se, of the state court decision that we
       are to decide.”).

Wright v. Secretary for the Dept. of Corrections, 278 F.3d 1245, 1256 (11th Cir. 2002).

       The statute clarifies that a federal court cannot grant relief regarding claims

adjudicated on the merits by the state courts “unless the adjudication of the claim ... resulted

in a decision that was based on an unreasonable determination of the facts in light of the

evidence presented in the State court proceeding.” 28 U.S.C. § 2254(d)(2).

       Accordingly, it is

       ORDERED that on or before December 7, 2017, Petitioner may file a response to the

answer filed by Respondents. Any pleadings, documents or evidence filed after this date will

not be considered by the court except in exceptional circumstances. Petitioner is advised that

at any time after December 7, 2017, the court will “determine whether an evidentiary hearing

is required. If it appears that an evidentiary hearing is not required, the [court] shall make


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such disposition of the petition as justice shall require.” Rule 8(a), Rules Governing Section

2254 Cases in the United States District Courts.

       Petitioner is instructed that when responding to Respondents’ answer, he may file

sworn affidavits or other documents in support of his claims. Affidavits should set forth

specific facts that demonstrate Petitioner is entitled to relief on those grounds presented in

the § 2254 petition. If documents not previously filed with the court are referred to in the

affidavits, sworn or certified copies of those papers must be attached to the affidavits or

served with them. When Petitioner attacks Respondents’ answer by affidavits or other

documents, the court will, at the proper time, consider whether to expand the record to

include such materials. See Rule 7, Rules Governing Section 2254 Cases in the United

States District Courts.

       Petitioner is cautioned that in responding to Respondents’ assertion that his claims are

procedurally defaulted, he must state specific reasons why he failed to comply with the

state’s procedural rules or otherwise did not present or pursue these claims in state court

either at the trial court level, on appeal or in available post-conviction proceedings.

Petitioner is advised that the reasons presented must be legally sufficient and that the facts

surrounding or relating to the reasons for the failure must be stated with specificity. If

Petitioner asserts that this court should address the procedurally defaulted claims under the

fundamental miscarriage of justice exception, Petitioner must show specific reasons for the

application of this exception.

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Done this 17th day of November, 2017.



                                 /s/ Wallace Capel, Jr.

                          WALLACE CAPEL, JR.

                          UNITED STATES MAGISTRATE JUDGE




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